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10   UNITED STATES OF AMERICA

11                            UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 20-127-MWF

14               Plaintiff,                   GOVERNMENT’S EX PARTE APPLICATION
                                              (1) FOR CONTINUANCE OF TRIAL DATE,
15                    v.                      (2) FOR FINDINGS OF EXCLUDABLE
                                              TIME PURSUANT TO SPEEDY TRIAL ACT,
16   GUAN LEI,                                AND (3) TO SET HEARING DATE

17               Defendant.                   CURRENT TRIAL DATE: 11/17/2020
                                              PROPOSED TRIAL DATE: 3/9/2021
18                                            PROPOSED HEARING DATE: 10/29/2020
19

20

21         Plaintiff United States of America, by and through its counsel
22   of record, the United States Attorney for the Central District of
23   California and Assistant United States Attorneys George E. Pence and
24   William M. Rollins, hereby files its Ex Parte Application (1) For
25   Continuance of Trial Date, (2) For Findings of Excludable Time, and
26   (3) To Set Hearing Date.
27         This Ex Parte Application is based upon the attached memorandum
28   of points and authorities and exhibits thereto, the files and records
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 1   in this case, and such further evidence and argument as the Court may

 2   permit.

 3    Dated: October 26, 2020             Respectfully submitted,

 4                                        NICOLA T. HANNA
                                          United States Attorney
 5
                                          CHRISTOPHER D. GRIGG
 6                                        Assistant United States Attorney
                                          Chief, National Security Division
 7

 8                                              /s/
                                          GEORGE E. PENCE
 9                                        Assistant United States Attorney

10                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         A one-count indictment charges defendant Guan Lei (“GUAN”) with

 4   Destruction of Evidence, in violation of 18 U.S.C. § 1519.           This

 5   case, however, is far more complex than the current charging document

 6   suggests.   The government continues to disclose voluminous discovery,

 7   much of which needs to be translated into English, and has notified

 8   the parties of its intent to invoke the Classified Information

 9   Procedures Act (“CIPA”), 18 U.S.C. App. 3.         (CR 48.)   CIPA

10   necessitates following certain procedures designed to balance complex

11   issues while preserving defendant’s right to a fair trial.           A

12   continuance of the trial will ensure the parties and the Court will

13   have sufficient time to address these issues and prepare for the

14   trial without violating defendant’s right to a speedy trial.

15         A continuance of the trial date is further justified by the

16   national emergency presented by the COVID-19 pandemic, which has

17   caused jury trials in the Central District of California to be

18   suspended since March 2020.      Trials continue to present grave health

19   risks to the parties, their attorneys, jurors, and the Court.

20   Moreover, the pandemic has substantially impaired the government’s

21   ability to make available for trial witnesses who reside in other

22   parts of the United States and overseas, who, due to quarantine

23   measures imposed by foreign governments and/or personal safety

24   concerns, are either unwilling or unable to travel to Los Angeles for

25   a trial beginning on November 17, 2020.

26         Although GUAN has not waived his right to a jury trial, his

27   current counsel – who, as detailed below, may not continue to serve

28   in that role – has advised the U.S. Attorney’s Office that GUAN may
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 1   file such a waiver and elect to proceed via a bench trial.           No bench

 2   trials have been conducted in this district since March 2020 and the

 3   current order suspends all jury trials in criminal cases and does not

 4   set forth procedures for the safe conduct of bench trials.           See

 5   General Order 20-09, at 2.      Especially in light of the potentially

 6   District-wide impacts of any proposal for a bench trial, a schedule

 7   should be imposed that contemplates the exchange of proposals by the

 8   parties and the opportunity for the parties to litigate, and the

 9   Court to resolve, any disagreements.

10         Accordingly, the government respectfully requests that the

11   Court:     (1) grant a trial continuance pursuant to 18 U.S.C.

12   § 3161(h)(7)(A); (w) find that the time period of November 17, 2020

13   to March 9, 2021, inclusive, should be excluded pursuant to the ends-

14   of-justice provision in 18 U.S.C. § 3161(h)(7)(A), as well as those

15   factors set forth in 18 U.S.C. § 3161(h)(B)(i) and (B)(iv), and

16   (3) hear the parties’ positions on this Ex Parte Application at the

17   October 29, 2020 status conference.1

18   II.   STATEMENT OF FACTS
19         A.     GUAN Disposed of a Computer Hard Drive to Obstruct an FBI
                  Investigation into the Transfer of Sensitive Information to
20                the PRC
21         On August 26, 2020, the Honorable Rozella A. Oliver authorized a

22   criminal Complaint against GUAN, which charged him with Destruction

23   of Evidence, in violation of 18 U.S.C. § 1519.          As detailed in the

24

25
           1Based on the undersigned AUSA’s discussions with GUAN’s
26   current counsel, the U.S Attorney’s Office for the Central District
     of California understands that GUAN opposes this Ex Parte
27   Application. As detailed in the Declaration of George E. Pence,
     which is attached hereto as Exhibit A, the parties met and conferred
28   with respect to this Application but were unable to resolve their
     differences.
                                        2
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 1   affidavit in support of that Complaint, which is attached as

 2   Exhibit B, GUAN is a computer scientist at the National University of
 3   Defense Technology (“NUDT”) in the People’s Republic of China

 4   (“PRC”), an institution affiliated with that country’s armed forces,

 5   otherwise known as the People’s Liberation Army (“PLA”).           The U.S.

 6   Department of Commerce has placed NUDT on its Entity List for non-

 7   proliferation reasons related to its development of supercomputers

 8   believed to be used in nuclear explosive activities using U.S.-origin

 9   multicores, boards, and (co)processors.        See 80 Fed. Reg. 8524 (Feb.

10   18, 2015).

11         On October 17, 2018, GUAN traveled to the United States on a J-1

12   visa to conduct research on machine learning at the University of

13   California, Los Angeles (“UCLA”).       While at UCLA, after his faculty

14   advisor apparently departed the school to work elsewhere, GUAN used

15   UCLA’s Graphics Processing Unit machine to complete research on

16   advanced computer systems.      After being alerted to the fact that NUDT

17   was on a United States “black list” (as GUAN referred to it in an

18   email to the PRC consulate), GUAN repeatedly reached out to the PRC

19   consulate in Los Angeles and the PRC embassy in Washington, D.C.

20   GUAN also deleted data from his phone and computer.

21         Furthermore, after an interview with agents from the Federal

22   Bureau of Investigation (“FBI”), during which GUAN lied about his

23   activities in the United States and attempted to obfuscate his

24   involvement in military activities at NUDT,2 GUAN destroyed a

25
          2 During a voluntary interview with FBI personnel at his
26
     apartment on July 17, 2020, GUAN initially denied wearing a military
27   uniform at NUDT. After he was asked whether photos could be found of
     him on the Internet wearing military uniform, GUAN responded
28   “probably not,” then later admitted that he did in fact wear a

                                             3
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 1   computer hard drive and surreptitiously discarded the hard drive in a

 2   dumpster near his apartment.       GUAN’s destruction of evidence occurred

 3   just days after he attempted to leave the United States by trying to

 4   board a flight to the PRC at Los Angeles International Airport

 5   (“LAX”).

 6         After GUAN’s arrest by FBI agents, the government filed a motion

 7   requesting that GUAN be detained before trial.          Notably, in support

 8   of that motion, the government cited the work of Alex Joske, an

 9   analyst at the Australian Strategic Policy Institute.           (CR 29-1.)     As

10   detailed in that motion and supporting exhibits, the Chinese

11   Scholarship Council (“CSC”), provides grants to researchers seeking

12   to study abroad and publishes lists of scholarship winners.            Those

13   lists include a code associated with each scholarship winner.            Mr.

14   Joske has identified in those codes a four-digit sequence that

15   designates certain scholarship winners as uniformed Chinese military

16   personnel.    GUAN’s research at UCLA was funded by the CSC, and his

17   CSC code includes the four-digit sequence associated with PLA

18   members.

19         On the government’s motion, the Honorable Patricia Donahue

20   ordered GUAN detained.      Since his initial appearance in this Court,

21   GUAN has been represented by Deputy Federal Public Defenders (“DFPD”)

22   Michael Schachter and Nadine Hettle.

23

24   military uniform when he first entered NUDT for “military training.”
     When asked whether he no longer had to wear a military uniform after
25   the first 15 days of school, GUAN initially said “correct,” but later
     said he sometimes did wear a military uniform but that the question
26   was hard to answer because he had been in the United States for two
     years and couldn’t “remember clearly.” He then said that he wore a
27   uniform rarely, such as on holidays. When shown a photograph of his
     advisor at NUDT, a PLA scientist who appeared in uniform in the
28   photograph, GUAN identified his advisor as a General based on the
     number of stars on his shoulder.
                                        4
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 1         B.   GUAN’s Girlfriend, Zhihui Yang (“YANG”), Attempted to Flee
                the United States After a Material-Witness Warrant Was
 2              Issued for Her Arrest
 3         On August 21, 2020, GUAN’s girlfriend, YANG was served with a

 4   subpoena to testify in a federal proceeding in connection with the

 5   government’s investigation of GUAN.

 6         On August 30, 2020, after the FBI learned that YANG had

 7   scheduled a flight from LAX to the PRC departing on August 31, 2020,

 8   at 12:15 a.m., Judge Oliver authorized a material witness arrest

 9   warrant for YANG.     (CR 8.)   Later that evening, the undersigned AUSA

10   contacted YANG’s counsel, informed her of the warrant, and requested

11   that YANG not board a flight to the PRC.         Thereafter, YANG’s counsel,

12   after speaking with YANG, advised AUSA Rollins that YANG would not

13   board the flight and the parties agreed to YANG’s self-surrender the

14   following day.    Despite this assurance, at approximately midnight on

15   August 31, 2020, YANG attempted to board the flight and the FBI was

16   forced to execute its arrest warrant.

17         On August 31, 2020, on the government’s motion (CR 14), Judge

18   Oliver designated YANG as a material witness pursuant to 18 U.S.C.

19   § 3144 and ordered that YANG be detained, (CR 16).

20         C.   YANG’s Motion for a Videotaped Deposition
21         On September 10, 2020, a Grand Jury in the Central District of

22   California returned an indictment charging GUAN with the same

23   violation alleged in the Complaint.        (CR 35.)   GUAN’s trial is

24   currently scheduled for November 17, 2020 (CR 41), and a status

25   conference is set for October 29, 2020 (CR 45).3

26

27         3This status conference was originally set for October 19,
     2020, but was rescheduled after defense counsel was unable to timely
28   file the necessary video-teleconference waiver, apparently due to
     COVID-19-related limitations imposed on his access to GUAN.
                                        5
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 1         On October 11, 2020, YANG filed a Motion for a Videotaped

 2   Deposition pursuant to Federal Rule of Criminal Procedure 15(a)(2).

 3   (CR 43.)   The hearing on YANG’s motion is set for November 9, 2020,

 4   leaving just eight days before GUAN’s scheduled trial date for the

 5   parties to prepare for the safe conduct of that deposition, over

 6   which the Court may choose to preside.

 7         D.   GUAN May Seek to Substitute Counsel
 8         In October 2020, attorney Harland Braun sent emails to the

 9   Court, defense counsel, and the United States Attorney’s Office for

10   the Central District of California.         (See CR 50, Ex. B.)    Those

11   emails state that GUAN’s family retained Mr. Braun to represent GUAN,

12   that the U.S. Bureau of Prisons (“BOP”) has restricted Mr. Braun’s

13   access to his prospective client, and that Mr. Braun doubted that the

14   government could “take an admissible deposition of Ms. Zang (sic)

15   while the issue of the representation of Mr. Guan is left

16   unresolved.”    To date, the status of GUAN’s representation appears

17   unsettled, and Mr. Braun has not filed a notice of substitution of

18   counsel.

19         E.   YANG is No Longer Detained
20         On October 16, 2020, YANG filed an Unopposed Ex Parte

21   Application for Proposed Order Setting Bond, which reflected terms

22   that she had negotiated with the government to ensure her appearance

23   at GUAN’s trial.     Judge Oliver granted that Application, which

24   authorized YANG’s release from the Metropolitan Detention Center

25   subject to certain conditions, including conditions that restrict her

26   travel and provide for home detention and electronic monitoring.               The

27   government has subpoenaed YANG to testify at the November 17, 2020

28   trial.

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 1         F.   The Status of Discovery and The Government’s CIPA § 2
                Notice
 2

 3         The government has provided voluminous discovery to GUAN,

 4   including recordings, forensic images of numerous electronic devices

 5   and accounts searched pursuant to warrants, draft transcripts and

 6   translations, and thousands of documents.         The government anticipates

 7   producing additional discovery to GUAN, to include final

 8   transcriptions of Mandarin-language recordings and items seized

 9   pursuant to search warrants.       Among the items requiring translation

10   is a recording of YANG’s October 23, 2020 interview by the

11   government.    During that interview, YANG claimed that she saw GUAN

12   destroy and then discard the damaged hard drive in a dumpster near

13   their apartment.4

14         On October 19, 2020, the Government filed a Notice in this case

15   indicating that, in addition to the discovery already produced, the

16   government will need to rely on the procedures outlined in CIPA,

17   including by bringing to the Court’s attention certain discovery

18   issues or other matters relating to classified material.

19         The government has diligently been preparing to address issues

20   related to classified information.        Indeed, between October 21

21   and 24, 2020, the undersigned Assistant United States Attorney

22   traveled outside the Central District of California to address issues

23   related to this CIPA filing.       At this time, the government

24   anticipates that the preparation and filing of a motion pursuant to

25

26
           4During her interview, YANG also claimed the hard drive
27   belonged to her and was never used by GUAN. This claim is incredible
     in light of numerous other obfuscating and misleading statements YANG
28   made during her interview, which the government is prepared to
     introduce at trial.
                                        7
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 1   CIPA § 4, as described in the government’s CIPA § 2 notice (CR 48),

 2   will require at least six weeks.

 3         G.    Constraints on Witness Travel
 4         The pandemic has placed restrictions on the ability of the

 5   government’s witnesses to appear for a November trial.           On

 6   October 22, 2020, the government notified GUAN of the proposed

 7   testimony of certain witnesses in the event the testimony of any of

 8   them could be construed to require notice under the Federal Rules of

 9   Evidence and/or the Federal Rules of Criminal Procedure.            Among the

10   identified witnesses is Alex Joske.        On October 20, 2020, Mr. Joske

11   told the undersigned AUSA that due to quarantine measures currently

12   in effect in Australia, where he resides, he would not be able to

13   travel to Los Angeles to testify at trial if it proceeded on

14   November 17, 2020.5     The FBI computer scientist who opined on the

15   condition of the destroyed hard drive in this case – as well as the

16   FBI forensic analyst who examined the destroyed hard drive and laptop

17   for DNA – are located on the East Coast.         Additional potential expert

18   witnesses, both in Australia and the United States, who can offer

19   testimony regarding NUDT, the PLA, and GUAN’s academic work have

20   declined to travel to Los Angeles due to foreign-government-imposed

21   quarantine measures or concerns for their personal health and safety

22   in light of the COVID-19 pandemic.

23         H.    The COVID-19 Pandemic and the Central District of
                 California
24

25         On March 13, 2020, following the President’s declaration of a

26   national emergency in response to COVID-19, the Court entered a

27

28         5See https://www.health.gov.au/news/state-quarantine-
     requirements-for-interstate-travel (last accessed Oct. 24, 2020).
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 1   General Order suspending jury selection and jury trials scheduled to

 2   begin before April 13, 2020.       C.D. Cal. General Order No. 20-02, In

 3   Re: Coronavirus Public Emergency, Order Concerning Jury Trials and

 4   Other Proceedings (Mar. 13, 2020).          The Court renewed that

 5   suspension, until a “date to be determined,” on August 6, 2020.             C.D.

 6   Cal. General Order No. 20-09, In Re: Coronavirus Public Emergency,

 7   Further Order Concerning Jury Trials and Other Proceedings (Aug. 6,

 8   2020).    On September 14, 2020, the Court relaxed certain restrictions

 9   concerning in-person hearings in the Central District’s Southern

10   Division in light of improved conditions there.          C.D. Cal. General

11   Order No. 20-12, In Re: Coronavirus Public Emergency Order Concerning

12   Reopening of the Southern Division (Supersedes, in part, General

13   Order No. 20-09) (Sept. 14, 2020)).         However, the suspension of jury

14   selection and jury trials remains in effect throughout the district.

15         Also on March 13, 2020, the Court imposed health- and travel-

16   related limitations on access to Court facilities.           C.D. Cal. General

17   Order No. 20-03, In Re: Coronavirus Public Emergency, Order

18   Concerning Access to Court Facilities (March 13, 2020).           On March 19,

19   2020, by Order of the Chief Judge, the Court instituted its

20   Continuity of Operations Plan (“COOP”), closing all Central District

21   of California courthouses to the public (except for hearings on

22   criminal duty matters) and taking other emergency actions.            C.D. Cal.

23   Order of the Chief Judge No. 20-042 (March 19, 2020).           On March 29

24   and 31, recognizing COVID-19’s continued spread in the community, the

25   Court took further action: implementing video-teleconference and

26   telephonic hearings and suspending all grand-jury proceedings.             C.D.

27   Cal. Orders of the Chief Judge Nos. 20-043 (March 29, 2020) and 20-

28   044 (March 31, 2020).      The Court’s most recent General Order

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 1   maintains court facilities’ general closure to the public; however,

 2   it allows in-person criminal hearings for defendants who do not

 3   consent to remote appearance, and it allows up to 10 members of the

 4   public to attend.     General Order No. 20-09, at 2-3 (August 6, 2020).

 5           These orders were imposed based on (1) the California Governor’s

 6   declaration of a public-health emergency in response to the spread of

 7   COVID-19, as well as (2) the Centers for Disease Control’s advice

 8   regarding reducing the possibility of exposure to the virus and

 9   slowing the spread of the disease.        See, e.g., General Order 20-02,

10   at 1.    The Chief Judge has recognized that, during the COVID-19

11   crisis, all gatherings should be limited to no more than 10 people

12   and elderly and other vulnerable people should avoid person-to-person

13   contact altogether.      See Order of the Chief Judge No. 20-042, at 1-2.

14   The Court has more broadly recognized CDC guidance advising

15   “precautions to reduce the possibility of exposure to the virus and

16   slow the spread of the disease[.]”        General Order 20-09, at 1.

17           Local and state governments have adopted similar policies.           On

18   March 19, 2020, both Los Angeles Mayor Eric Garcetti and California

19   Governor Gavin Newsom issued emergency orders requiring residents to

20   “stay home,” subject to limited exceptions.          California Executive

21   Order N-33-20 (March 19, 2020); accord Safer at Home, Public Order

22   Under City of Los Angeles Emergency Authority ¶ 1 (March 19, 2020).

23   Subject to similarly limited exceptions, all travel was prohibited.

24   Safer At Home ¶ 4.     Non-essential businesses requiring in-person

25   attendance by workers were ordered to cease operations.           Id. ¶ 2.

26   All schools in the Los Angeles Unified School District remain closed

27   to in-person classes.

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 1         The BOP has likewise adopted aggressive procedures to protect

 2   federal inmates.     On April 1, 2020, all BOP facilities nationwide

 3   instituted a two-week lock-down, in order to combat the spread of

 4   COVID-19 and to protect people in custody.         See Federal Bureau of

 5   Prisons, COVID-19 Action Plan: Phase Five (March 31, 2020), available

 6   at

 7   https://www.bop.gov/resources/news/20200331_covid19_action_plan_5.jsp

 8   . Under earlier orders, the BOP updated its quarantine and isolation

 9   procedures to require all newly admitted inmates to be quarantined

10   for a minimum of 14 days.       Id.   It likewise suspended in-person

11   social visitation and restricted inmate movement between facilities.

12   See Federal Bureau of Prisons, Bureau of Prisons Update on COVID-19

13   (March 24, 2019), available at

14   https://www.bop.gov/resources/news/pdfs/20200324_bop_press_release_co

15   vid19_update.pdf.     As evidenced by Mr. Schachter’s filings in this

16   case and correspondence received by the undersigned AUSA from Mr.

17   Braun, these restrictions remain in place.

18         As these orders reflect, the novel coronavirus pandemic is a

19   global emergency that is unprecedented in modern history.            As data

20   from both the U.S. Centers for Disease Control (“CDC”) and the

21   California Department of Public Health reflect, the virus has spread

22   through the United States community at an alarming rate.            See

23   Coronavirus Disease 2019 (COVID-19) in the U.S., Centers for Disease

24   Control and Prevention (updated daily), available at

25   https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-

26   us.html; Coronavirus Disease 2019 (COVID-19), California Department

27   of Public Health (updated daily), available at

28   https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019

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 1   .aspx.    The death toll, across the world, is staggering.          As of

 2   October 26, 2020, the CDC has identified 8,617,022 cases of the

 3   COVID-19 disease in the United States, resulting in 224,601 deaths.6

 4         The Court’s August 6, 2020 General Order concluded, based on

 5   these facts, that “in order to protect public health, and in order to

 6   reduce the size of public gatherings and reduce unnecessary travel,”

 7   it was necessary to suspend criminal jury trials until further

 8   notice.    General Order 20-09, at 1 (Aug. 6, 2020).         The Court

 9   concluded that, given the increased rates of COVID-19-related

10   hospitalization and death over the preceding 30 days, “holding jury

11   trials substantially increases the chances of transmitting the

12   Coronavirus,” and it would thus “place prospective jurors, defendant,

13   attorneys, and court personnel at unnecessary risk.”           Id. at 3.    The

14   Court concluded that suspending jury trials thus served the ends of

15   justice and outweighed the interests of the public and defendants in

16   a speedy trial.     Id.

17         The Central District of California thus has not adopted any

18   protocols for safely conducting either bench or jury trials.             See id.

19   The undersigned AUSA is not aware of any criminal trial conducted in

20   this district since March 2020.

21   III. APPLICABLE LAW – DEFENDANT’S RIGHT TO A SPEEDY TRIAL
22         A defendant’s right to a speedy trial is enshrined in the Sixth

23   Amendment and codified in the Speedy Trial Act.          See U.S. Const. 6th

24   Amend. and 18 U.S.C. § 3161.       The Sixth Amendment provides that an

25   accused shall “enjoy the right to a speedy trial” and the Speedy

26

27

28         6See https://covid.cdc.gov/covid-data-
     tracker/#cases_casesper100klast7days (last accessed Oct. 26, 2020).
                                       12
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 1   Trial Act requires that a trial ordinarily commence within seventy

 2   days from the unsealing of an indictment or initial appearance.             Id.

 3   But neither is inflexible.

 4         The constitutional speedy trial right is measured against the

 5   four factors: (1) the length of the delay, (2) the reasons for the

 6   delay, (3) the defendant’s assertion of the speedy trial right, and

 7   (4) the prejudice caused by the delay.         United States v. Baker,

 8   10 F.3d 1374, 1401 (9th Cir. 1993) (citing Baker v. Wingo, 407 U.S.

 9   514, 530 (1972)).

10         Similarly, the Speedy Trial Act permits courts to delay trial by

11   excluding periods of time from the 70-day speedy trial period.             The

12   Act expressly provides that periods of delay “resulting from any

13   pretrial motion, from the filing of the motion through” resolution of

14   the motion “shall be excluded . . . in computing the time in which

15   trial . . . must commence.”       18 U.S.C. § 3161(h)(1)(A).      Equally

16   significant here is § 3161(h)(7)’s exclusion for matters in which

17   “the ends of justice” served by delay “outweigh the best interests of

18   the public and the defendant in a speedy trial.”          A district court

19   may grant an “ends of justice” continuance if the continuance is

20   “specifically limited in time” and it is “justified [on the record]

21   with reference to the facts as of the time the delay is ordered.”

22   United States v. Jordan, 915 F.2d 563, 565 (9th Cir. 1990).

23          The relevant factors courts consider in determining whether

24   § 3161(h)(7) exclusion are applicable are:

25         (i)   Whether the failure to grant such a continuance in
           the proceeding would be likely to make a continuation of
26         such proceeding impossible, or result in a miscarriage of
           justice.
27
           . . . .
28

                                             13
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 1         (iv) Whether the failure to grant such a continuance in a
           case which, taken as a whole, is not so unusual or so
 2         complex as to fall within clause (ii), would deny the
           defendant reasonable time to obtain counsel, would
 3         unreasonably deny the defendant or the Government
           continuity of counsel, or would deny counsel for the
 4         defendant or the attorney for the Government the reasonable
           time necessary for effective preparation, taking into
 5         account the exercise of due diligence.

 6   18 U.S.C. § 3161(h)(7)(B)(i), (iv).

 7   IV.   ARGUMENT
 8         A.    CIPA Imposes a Time-Consuming but Necessary Process to
                 Balance Defendant’s Rights and Protect National Security
 9

10         CIPA litigation is a complex and time-consuming process.           CIPA

11   was designed “to harmonize a defendant’s right to a fair trial with

12   the government’s right to protect classified information.”            United

13   States v. Sedaghaty, 728 F.3d 885, 903 (9th Cir. 2013).           CIPA allows

14   the government to meet its discovery obligations while protecting

15   national security information and ensures defendants receive the

16   information necessary to present a defense.

17         In this case, the government notified the parties and the Court

18   of its intent to invoke CIPA.       The preparation and review of a CIPA

19   § 4 motion is especially time consuming because the Court must

20   examine lengthy submissions to determine whether to restrict

21   discovery in order to protect national security.          See United States

22   v. Sarkissian, 841 F.2d 959, 965 (9th Cir. 1988) (“Congress intended

23   section 4 to clarify the court’s powers under Fed.R.Crim.P. 16(d)(1)

24   to deny or restrict discovery in order to protect national

25   security.”).     The Court needs time to examine the record and decide

26   whether the government has appropriately invoked a classified

27   information privilege over the relevant materials and to ensure that

28   any information that is “relevant and helpful to the defense of an

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 1   accused” is disclosed to defendant.          United States v. Klimavicius-

 2   Viloria, 144 F.3d 1249, 1261 (9th Cir. 1998) (citing Roviaro v.

 3   United States, 353 U.S. 53, 60–61, (1957)).

 4         Moreover, that fact that GUAN is currently charged in a

 5   narrowly-construed indictment does not diminish the government’s

 6   obligation to protect classified information.          It is the presence of

 7   relevant classified information that dictates the government’s use of

 8   CIPA, not the nature of the prosecution.         See e.g., Sedaghaty, 728

 9   F.3d 885, 903 (government invoked CIPA in tax fraud prosecution);

10   Klimavicius-Viloria, 144 F.3d 1261 (government invoked CIPA in drug

11   conspiracy prosecution).

12         B.    With Respect to CIPA Litigation, the Ends of Justice
                 Warrant a Continuance
13

14         An “ends of justice” continuance, as envisioned by the Speedy

15   Trial Act, is warranted here because the continuance is “specifically

16   limited in time” and it is “justified” by the facts. See Jordan, 915

17   F.2d at 565.     Section 3161(h)(7)’s applicable factors support a

18   continuance here.

19         First, absent a continuance, the government will not be able to

20   fulfill its duty to protect national security information and the

21   Court will not have sufficient time to safeguard defendant’s

22   constitutional and statutory rights to a fair trial.           See 18 U.S.C.

23   §§ 3161(h)(7)(B)(i).      Before proceeding to trial, or even before

24   proceeding to YANG’s proposed pre-trial deposition, the Court must

25   consider issues raised in anticipated CIPA pleadings.           Allocating

26   sufficient time to resolve those issues is necessary to avoid a

27   miscarriage of justice.

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 1         A continuance is also warranted because failure to grant a

 2   continuance would “deny counsel for the defendant or the attorney for

 3   the Government the reasonable time necessary for effective

 4   preparation, taking into account the exercise of due diligence.”

 5   18 U.S.C. § 3161(h)(7)(B)(iv).       As detailed above, the government

 6   must compile a voluminous submission and the Court must have

 7   sufficient time to review the material to ensure defendant’s rights

 8   to a fair trial are protected.

 9         Courts have granted trial continuances upon the government’s

10   motions, even over defendants’ objections, in matters involving CIPA.

11   In United States v. Salad, for example, the district court continued

12   trial over defendant’s objection based, in part, on the government’s

13   representation that it might invoke CIPA.         779 F. Supp. 2d 509, 514
14   (E.D. Va. 2011)(citing United States v. Warsame, No. 04-29, 2007 WL

15   748281 at *3 (D. Minn. March 8, 2007) (granting the government’s

16   motion for a continuance because of the government’s invocation of

17   CIPA)); accord United States v. Hasan, Crim. No. 2:10cr56, slip op.

18   at 2 (E.D. Va. May 21, 2010) (granting the Government’s motion

19   continue trial date because, inter alia, the potential involvement of
20   CIPA in the case); United States v. Said, Crim. No. 2:10cr57, slip

21   op. at 2 (E.D. Va. May 5, 2010) (same)).

22         C.    The COVID-19 Pandemic Also Justifies an Ends-of-Justice
                 Continuance of GUAN’s Trial
23

24         Certain periods of time are excluded from the Speedy Trial Act’s

25   trial clock.     Id. § 3161(h).    Some periods of time are automatically

26   excluded, including periods of delay resulting from the absence or

27   unavailability of the defendant or an essential witness.            Id.

28   § 3161(h)(3)(A).     Other periods of time are excluded only when a

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 1   judge continues a trial and finds, on the record, that “the ends of

 2   justice served by taking such action outweigh the best interest of

 3   the public and the defendant in a speedy trial.”          Id.

 4   § 3161(h)(7)(A).

 5         In this case, the time between November 17, 2020 and

 6   March 9, 2021 should also be excluded from the Speedy Trial Act under

 7   the ends-of-justice provision, 18 U.S.C. § 3161(h)(7)(A).

 8         Although General Orders 20-02 through 20-12 address district-

 9   wide health concerns and make Speedy Trial Act findings under

10   § 3161(h)(7)(A), individualized findings are nevertheless necessary

11   in this case.     See General Order 20-02 at 2 ¶ 4; General Order 20-09

12   at 2 ¶ 6(a).     The Supreme Court has emphasized that the Speedy Trial

13   Act’s ends-of-justice provision, § 3161(h)(7)(A), “counteract[s]

14   substantive openendedness with procedural strictness,” “demand[ing]

15   on-the-record findings” in a continued case.          Zedner v. United

16   States, 547 U.S. 489, 500 (2006).        “[W]ithout on-the-record findings,

17   there can be no exclusion under” § 3161(h)(7)(A).           Moreover, any such

18   failure generally cannot be harmless.         Id. at 509.

19         Judged by the plain language of the Speedy Trial Act, the

20   General Orders require specific supplementation here.           Specifically,

21   ends-of-justice continuances are excludable only if “the judge

22   granted such continuance on the basis of his findings that the ends

23   of justice served by taking such action outweigh the best interest of

24   the public and the defendant in a speedy trial.”          18 U.S.C.

25   § 3161(h)(7)(A).     Moreover, no such period is excludable unless “the

26   court sets forth, in the record of the case, either orally or in

27   writing, its reasons for finding that the ends of justice served by

28   the granting of such continuance outweigh the best interests of the

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 1   public and the defendant in a speedy trial.”          Id.   The period must

 2   also be “specifically limited in time.”         United States v. Lewis, 611

 3   F.3d 1172, 1176 (9th Cir. 2010).

 4         As the above facts reflect, the ends of justice justify

 5   excludable time here.      Pandemic, like natural disaster or other

 6   emergency, grants this Court the discretion to order an ends-of-

 7   justice continuance.      “Although the drafters of the Speedy Trial Act

 8   did not provide a particular exclusion of time for such public

 9   emergencies (no doubt failing to contemplate, in the more innocent

10   days of 1974, that emergencies such as this would ever occur), the

11   discretionary interests-of-justice exclusion” certainly covers this

12   situation.    United States v. Correa, 182 F. Supp. 2d 326, 329

13   (S.D.N.Y. 2001) (addressing September 11 attacks); see Furlow v.

14   United States, 644 F.2d 764, 767-69 (9th Cir. 1981) (affirming Speedy

15   Trial exclusion after eruption of Mount St. Helens); accord United

16   States v. Stallings, 701 F. App’x 164, 170-71 (3d Cir. 2017) (same,

17   after prosecutor had “family emergency”); United States v. Hale, 685

18   F.3d 522, 533-36 (5th Cir. 2012) (same, where case agent had

19   “catastrophic family medical emergency”); United States v. Scott, 245

20   Fed. Appx. 391, 394 (5th Cir. 2007) (same, after Hurricane Katrina);

21   United States v. Richman, 600 F.2d 286, 292, 293-94 (1st Cir. 1979)

22   (same, after a “paralyzing blizzard” and the informant was

23   hospitalized).

24         Here, the public health risks outlined above - and the findings

25   articulated in General Orders 20-02 and 20-09 - justify a

26   continuance.     As the President, the California governor, the Los

27   Angeles mayor, and this Court’s own General Orders have recognized,

28   we are in the midst of a grave public-health emergency requiring

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 1   people to take extreme measures to limit contact with one another.

 2   The Central District of California has no established jury- or bench-

 3   trial protocol at present; instead, the Court has concluded that jury

 4   trials would “place prospective jurors, defendant, attorneys, and

 5   court personnel at unnecessary risk.”         General Order 20-09 at 3,

 6   ¶ 6(a).       In the absence of such a district-wide protocol, proceeding

 7   with a jury or bench trial is unsafe.

 8         An ends-of-justice delay is particularly apt in this case

 9   because:

10                   This trial involves witnesses who must travel, including
11                    from overseas, and thus would put themselves and others

12                    at risk if they were to come to court during this

13                    crisis.    Multiple public agencies have recommended

14                    against unnecessary travel, particularly for vulnerable

15                    populations.   Specifically, one government witness is

16                    located in Australia, where quarantine- and travel-

17                    restrictions are in place, and other possible government

18                    expert witnesses have declined to testify on the

19                    currently-scheduled trial date due to such restrictions

20                    and personal concerns about their health and safety.           At

21                    least two FBI witnesses are located on the East Coast.

22                   The closure of Los Angeles’s public schools (through at
23                    least the currently-scheduled trial date and potentially

24                    through the end of the school year), will require a

25                    significant number of jurors to handle child-care

26                    responsibilities and thus be unavailable for jury

27                    service.

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 1                 It will be almost impossible for jurors - particularly
 2                  jurors over 65 - to maintain adequate social distance

 3                  during jury selection, trial, and deliberations.

 4                  Indeed, to leave their homes to come to court, such

 5                  jurors would violate the recommendations of the Centers

 6                  for Disease Control and multiple other public-health

 7                  authorities.

 8         In addition, due to the restrictions imposed by current public-

 9   health concerns, it is also unreasonable to expect adequate

10   preparation for pretrial proceedings or for the trial itself within

11   Speedy Trial Act time limits.       Counsel, United States Attorney’s

12   Office personnel, and victim-witness specialists have been encouraged

13   to telework to minimize personal contact to the greatest extent

14   possible.     And defense counsel has repeatedly – both in filings and

15   emails to the Court and in conversations with the undersigned AUSA –

16   expressed frustration with their inability to meet with GUAN.

17   Moreover, as detailed above, it is uncertain whether GUAN’s current

18   counsel will continue to represent him, and his prospective counsel,

19   Mr. Braun, has objected to any deposition of YANG occurring before

20   the issue of his engagement is resolved.

21         Finally, trial preparation necessarily involves close contact

22   with witnesses, inconsistent with advice from the CDC and the Los

23   Angeles County Department of Public Health, which currently warns

24   that the COVID-19 threat level in Los Angeles County presents “very

25   high and widespread risk,” requiring residents to “minimize all

26   contact.”7    Under these unusual and emergent circumstances – GUAN’s

27

28         7See https://corona-virus.la/covid-19-threat-level (last
     accessed Oct. 26, 2020).
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 1   arrest and indictment arose not from a years’ long investigation but

 2   from an investigation that moved quickly after identifying him as a

 3   person-of-interest and after FBI determined that he planned to leave

 4   the United States to the PRC, a jurisdiction that does not have an

 5   extradition treaty with the United States – a denial of a continuance

 6   is likely to deny all counsel reasonable time necessary for effective

 7   preparation, taking into account the exercise of due diligence.

 8          D.   A Short Continuance Does Not Violate GUAN’s Sixth Amendment
                 Right to a Speedy Trial
 9

10          The government’s request for a trial continuance does not

11   violate defendant’s Sixth Amendment right to a speedy trial.            The

12   four Baker factors favor continuance here.         See Baker, 407 U.S. at

13   530.   First, the requested continuance is relatively short when

14   considered in light of this case’s complexity.          Id. (the delay that

15   can be tolerated for an “ordinary street crime” is less than for a

16   more complex charge).      Second, protection of classified information

17   and ensuring defendant has the material necessary to mount a defense

18   are important reasons justifying a continuance.          Third, although

19   defendant may object to any delay, a relatively short and necessary

20   one will protect both the government’s right to protect national

21   security information and defendant’s rights to a fair trial.            Fourth,

22   any claim by defendant that he will be prejudiced because a delay

23   will allow the government to investigate additional criminal conduct

24   is unavailing.     The government will continue to investigate his

25   conduct whether a continuance is granted or not.

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 1         E.    The Parties Should Be Heard on this Ex Parte Application at
                 the October 29, 2020 Status Conference
 2

 3         As detailed above, this case involves: (a) discovery issues

 4   related to CIPA; (b) grave concerns arising from the COVID-19

 5   pandemic about proceeding to trial (whether it be a bench or jury

 6   trial) on the looming trial date of November 17, 2020; and

 7   (c) uncertainty as to defendant’s continued representation by his

 8   current counsel.     In light of these issues and the exigencies

 9   presented by the trial date, the government requests that the Court

10   hear the parties’ positons on this Ex Parte Application at the

11   October 29, 2020 status conference.

12   V.    CONCLUSION
13         For the foregoing reasons, the government respectfully requests

14   that this Court:     (1) grant a trial continuance pursuant to 18 U.S.C.

15   § 3161(h)(7)(A); (2) find that the time period of November 17, 2020

16   to March 9, 2021, inclusive, should be excluded pursuant to the ends-

17   of-justice provision in 18 U.S.C. § 3161(h)(7)(A), as well as those

18   factors set forth in 18 U.S.C. § 3161(h)(B)(i) and (B)(iv); and

19   //

20   //

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 1   (3) hear the parties’ positions on this Ex Parte Application at the

 2   October 29, 2020 Status Conference.

 3    Dated: October 26, 2020              Respectfully submitted,

 4                                         NICOLA T. HANNA
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 5
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 7

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